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                                          March 11, 2019


 VIA ECF

 Honorable Leda Dunn Wettre, U.S.M.J.
 United States District Court
 Martin Luther King Federal Building
 50 Walnut Street
 Newark, New Jersey 07102

 Re:    Afzal et al. v. BMW of N. Am., LLC, et al.,
        Civil Action No.: 2:15-cv-08009-MCW-LDW

 Dear Judge Wettre:

         As the Court has been separately advised, Plaintiff Andy Dechartivong (“Andy”) died in
 or about December 11, 2018. Plaintiff David Afzal now requests leave to file a motion under Rule
 25 of the Federal Rules of Civil Procedure to substitute Angkhana Dechartivong (“Angkhana”),
 Andy’s widow, in Andy’s stead.

          Whether a would-be successor may pursue a claim on behalf of a deceased party depends
 on the underlying substantive law of the state from which the claim arises. E.g., Giles v. Campbell,
 698 F.3d 153, 156 (3d Cir. 2012). Here, that state law is California law, given that Andy was a
 California resident pursuing claims under California law. And under California law, Angkhana is
 the legal owner of the vehicle (“Subject Vehicle”) that forms the basis of the claims Andy asserted
 in this lawsuit, and she thus has standing to pursue claims for damage to that vehicle.

         That Angkhana is an owner of the Subject Vehicle under California law derives from the
 fact that the Subject Vehicle was purchased during the Dechartivong’s marriage using assets of
 the marital community. As a result, the Subject Vehicle was “community property” under
 California law and was thus owned jointly by both Andy and Angkhana. See, e.g., In re Marriage
 of Leversee, 158 Cal. App. 3d 891, 898 (1984) (holding that a “car [that] was acquired during the
 marriage [] was presumed to be community property”). Indeed, although it was purchased for
 Andy’s benefit and use, Angkhana’s name is listed on the purchase documentation for the Subject
 Vehicle.

         Andy’s death did not change Angkhana’s status as an owner of the Subject Vehicle. To the
 contrary, it converted Angkhana from a joint owner of the Subject Vehicle to the sole owner of the
 Subject Vehicle. Of course, as “the” owner of the Subject Vehicle—which remains inoperable to
 this day due to the defect Andy alleged in the operative complaint—Angkhana has suffered and/or
 will suffer the exact same pecuniary injuries that formed the basis of Andy’s claims.



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          In short, rather than extinguish with his death, Andy’s claims survive in Angkhana, and
 she is thus a proper party to serve as his successor in this action. Accordingly, Plaintiff David Afzal
 requests leave of this Court to file a motion to substitute Angkhana Dechartivong for Andy
 Dechartivong as a named plaintiff in this lawsuit

         Counsel for Plaintiffs requested consent for the substitution and counsel for BMW NA
 responded that “[o]nce the required statement of notice of death is served per Rule 25, as well as
 the motion for substitution showing that Ms. Dechartivong is Mr. Dechartivong’s legal
 representative or successor-in-interest and therefore the proper party for substitution ... BMW NA
 will not oppose the motion.”


                                                Respectfully submitted,




                                                Matthew D. Schelkopf



        cc: all counsel of record via ECF
